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     EXHIBIT D
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                                                 Drilling and Evaluation




GaugePro XPR and XPS
XPR Expandable Reamer and XPS Expandable Stabilizer
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                GaugePro XPS
                     The GaugePro expandable stabilizer (XPS), from Baker Hughes increases
                     drilling efficiency by providing BHA stabilization in the enlarged wellbore.
                     This expandable stabilizer is designed on the same simple, robust and reliable
                     principle as the GaugePro XPR expandable reamer. The stabilizer, when run in
                     combination with the expandable reamer, significantly reduces upper BHA whirl,
                     thus reducing BHA damage and further enhancing the downhole operating
                     environment and drilling performance.

                     The GaugePro XPS improves performance results compared to traditional pass-
                     thru stabilizers used above an expandable reamer.
                      Increased drilling efficiency

                      Reduced lateral vibration

                      Minimized reamer and upper BHA

                      Increased ROP for a given WOB



                     Benefits:
                      More surface WOB to bottom using the XPS

                      Reduced BHA whirl and lateral vibration, less risk of tool joint failure above

                       the reamer




                                                           Backreaming Cutters


                                                           Double Bevel/Radius


                                                           All of the GaugePro XPS stabilizer blades have
                                                           cutters on the back ream section. This feature
                                                           helps cleaning the enlarged well bore during
                                                           back reaming operations. The stabilizer blades
                                                           have a double bevel/radius to assist in the pre-
                                                           vention of drag. The stabilizer blades are 1/8 in.
                                                           under gauge of the hole enlargement size of the
                                                           GaugePro XPR reamer.




                          GaugePro XPS Stabilizer
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GaugePro XPR
Improved performance. The Hughes Christensen GaugePro™ XPR expandable reamer, from Baker Hughes,
eliminates the chronic reamer problems facing the industry: complexity, activation, downhole failures, and vibration/
stability dysfunction. The concentric reamer remains closed until triggered, opens on command, reams an in-gauge
hole, and closes and comes out of the hole properly. With the pilot bit design synchronized to the expandable
reamer in a fit-for-purpose drilling assembly, you’ll have an exceptional downhole operating environment.

Simplified tool design                                        Ample blade area for large down-drill and backreaming

 Minimal number of parts and no complex tool                  cutting structures
   mechanisms improve functional reliability and reduce       Designed for stability

   operational risk                                           Optimized with design proprietary BHASysPro™

 Design synergies for Baker Hughes products                   software for improved drilling dynamics
 Compatibility with all MWD/LWD systems, RSS, and           Stabilization sub below cutter blades provides

   performance motor-drilling assemblies                        enhanced BHA stability and reduced vibration
                                                              Balanced reamer design subjected to stability

Positive drop-ball tool activation                              testing with results equivalent to PDC bits tested of
 Activation mechanism does not depend upon                    same diameter
   WOB, flow, or BHA pressure, eliminating premature
   triggering risk                                           One-piece, high-tensile steel tool bodies
 Positive, shear-screw triggering with a large,            with no welding
   predictable (+/-5%) pressure signal that                   Specialized body material selected for high strength

   indicates activation                                        and fracture resistance
 After seating, ball retained by patented                   Comprehensive FEA analysis performed for confidence

   catch sleeve                                                in overpull, bending fatigue, and torsion
                                                              No welding or brazing on tool body leaves no heat-

Cutter blade designed to use natural down-                     affected zones, improving tool life and integrity
drilling forces and provide fail-safe retraction
 Blade activation enhanced by the down-drilling force,     System synchronization
   ensuring consistent cutting loads and a full-gauge hole    Exceptionally smooth drilling when pilot bit design

   with improved wellbore quality                               synchronized with GaugePro XPR tool in fit-for-purpose
 No minimum WOB required to hold blades out. Blade            drilling assembly
   motion tilted upward at low angle to ensure fail-safe      First documented, significant vibration reduction

   blade retraction                                             by limiting aggressiveness of the pilot bit without
                                                                reducing ROP using patented EZSteer™ depth-of-cut
Designed by premium drill bit manufacturer                      control technology
 Optimized cutting structure designed by market-

   leading bit company                                       Reamer hydraulics
 Technology thoroughly proven at Baker Hughes world-        Proprietary Baker Hughes reamer hydraulics software

   class drilling rig and laboratory test facilities            predicts tool pressure drop before and after activation
                                                                for confident application with MWD and other
Engineered cutter layout for down-                              BHA components
drill and backreaming using Genesis                           Nozzle locations and tilts designed using CFD to

cutter technology                                               optimize hydraulics
 Employed proven parabolic profiles for full-

  coverage cutting structure, balance, and improved
  cutter durability
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GaugePro XPR and XPS Specification/Imperial
Imperial                                                Series 8        Series 10        Series 12            Series 14       Series 16       Series 18
                                                      9 7/8 in. XPR   12 1/4 in. XPR   14 3/4 in. XPR       17 1/2 in. XPR    20 in. XPR      22 in. XPR
                                                          8.500          10.625           12.250               14.500          16.500          18.125
 Hole Enlargement Range Up To                           9 7/8 in.       12 1/4 in.       14 3/4 in.           17 1/2 in.        20 in.          22 in.
 Pass Through Size Ø                                    8 1/2 in.       10 5/8 in.       12 1/4 in.           14 1/2 in.      16 1/2 in.      18 1/8 in.


 Tool Dimensions                                        Imperial        Imperial         Imperial             Imperial         Imperial        Imperial
 Body size diameter                                      8.29 in.        10.25 in.        12.0 in.             14.25 in.       16.28 in.       17.90 in.
                                                                                         9 1/2 in.  1

 Fishing neck diameter                                  6.875 in.         8 in.                                 9.5 in.        10.15 in.      10.150 in.
                                                                                         8 1/4 in.2
 Cutter activation pressure area                       8.82 sq. in.    10.3 sq. in.     17.1 sq. in.         17.1 sq. in.     17.1 sq. in.    17.1 sq. in.
 Internal bore diameter
                                                         1.95 in.        2.63 in.         3.27 in.             3.27 in.        3.27 in.        3.27 in.
 before triggering
 Body x-section annular flow area                         12%             12%               12%                14.5%             16%           21.80%
 Drop-ball size (diameter)                              1.375 in.        1.75 in.         1.75 in.             1.75 in.        1.75 in.        1.75 in.
 Primary cutter size (diameter)                          0.5 in.         0.63 in.         0.63 in.             0.63 in.        0.63 in.        0.63 in.
 Number of cutter blades                                    3               3                3                    3                3               3
 Overall length (shoulder to shoulder)                  147.5 in.        157.5 in.       162.4 in.            163.6 in.        192.4 in.       195.9 in.
 Weight                                                 1,100 lb         1,940 lb         2,865 lb             3,347 lb        4,202 lb.       4,668 lb.
                                                                                       7 5/8 Reg API    1

 Connections: pin down/box up                          4 1/2 IF API   6 5/8 Reg API                         7 5/8 Reg API    7 5/8 Reg API   7 5/8 Reg API
                                                                                       6 5/8 Reg API2



 Operational Recommendations
 Maximum recommended
                                                        800 gpm        1,200 gpm        1,400 gpm            2,000 gpm       2,000 gpm       2,000 gpm
 operating flow
 Maximum drilling torque                                23 kft-lb       35 kft-lb         60 kft-lb           60 kft-lb       60 kft-lb       60 kft-lb
 Make-up torque-tool subs                               36 kft-lb       62 kft-lb        94.7 kft-lb         94.7 kft-lb     94.7 kft-lb     94.7 kft-lb
                                                                                        79.5 kft-lb1
 Make-up torque-drillstring                             30 kft-lb      50.7 kft-lb                           79.5 kft-lb     79.5 kft-lb     79.5 kft-lb
                                                                                        50.7 kft-lb2
 Absolute maximum overpull                              550 klb          800 klb         1,400 klb            1,400 klb       1,400 klb       1,400 klb
 Recommended maximum rotary speed                       180 rpm         140 rpm           120 rpm             120 rpm         120 rpm         120 rpm
 Pressure drop through tool @ 10 ppg                    94 psi @        95 psi @         95 psi @             95 psi @        95 psi @        95 psi @
 mud weight before triggering                           450 gpm         750 gpm          750 gpm              750 gpm         750 gpm         750 gpm
 Pressure drop through tool @ 10 ppg
                                                        69 psi @        64 psi @         51 psi @            114 psi @       114 psi @       114 psi @
 mud weight after triggering
                                                        700 gpm         900 gpm         1,000 gpm            1,500 gpm       1,500 gpm       1,500 gpm
 (80%-20% split)
 Maximum ⌂P-drill pipe to BHA below
                                                        2,000 psi       2,000 psi        2,000 psi            2,000 psi       2,000 psi       2,000 psi
 the XPR
 Minimum ⌂P-drill pipe to BHA below
                                                         500 psi         500 psi          500 psi              500 psi         500 psi         500 psi
 the XPR
 Maximum recommended temperature                        325° F**        325° F **        325° F**             325° F**        325° F**        325° F**
** High-temperature seal available: 400° F / 200° C
1
  7 5/8” Reg Make-up Torque
2
  6 5/8” Reg Make-up Torque
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Metric                                                  Series 8        Series 10        Series 12            Series 14          Series 16           Series 18
                                                      9 7/8 in. XPR   12 1/4 in. XPR   14 3/4 in. XPR       17 1/2 in. XPR
                                                                                                                             20 in. XPR 16.500   22 in. XPR 18.125
                                                          8.500          10.625           12.250               14.500
 Hole Enlargement Range Up To                           9 7/8 in.       12 1/4 in.       14 3/4 in.           17 1/2 in.           20 in.              22 in.
 Pass Through Size Ø                                    8 1/2 in.       10 5/8 in.       12 1/4 in.           14 1/2 in.         16 1/2 in.          18 1/8 in.


 Tool Dimensions                                         Metric          Metric           Metric               Metric             Metric              Metric
 Body size diameter                                    210.6 mm         260.4 mm         304.8 mm              362 mm           413.5 mm            454.6 mm
                                                                                         241 mm     1

 Fishing neck diameter                                  175 mm           203 mm                                241 mm           257.8 mm            257.8 mm
                                                                                         210 mm2
 Cutter activation pressure area                      5,691 sq. mm    6,646 sq. mm     11,033 sq. mm        11,033 sq. mm     11,033 sq. mm       11,033 sq. mm
 Internal bore diameter
                                                        49.5 mm         66.8 mm          83.1 mm              83.1 mm            83.1 mm             83.1 mm
 before triggering
 Body x-section annular flow area                         12%             12%              12%                 14.5%               16%               21.80%
 Drop-ball size (diameter)                              34.9 mm         44.5 mm          44.5 mm              44.5 mm            44.5 mm             44.5 mm
 Primary cutter size (diameter)                          13 mm           16 mm            16 mm                16 mm              16 mm               16 mm
 Number of cutter blades                                    3               3                3                    3                  3                   3
 Overall length (shoulder to shoulder)                 3,747 mm         4,001 mm         4,125 mm             4,155 mm          4,877 mm            4,976 mm
 Weight                                                  499 kg          880 kg          1,300 kg             1,518 kg           1,906 kg            2,117 kg
                                                                                       7 5/8 Reg API    1

 Connections: pin down/box up                          4 1/2 IF API   6 5/8 Reg API                         7 5/8 Reg API      7 5/8 Reg API       7 5/8 Reg API
                                                                                       6 5/8 Reg API2


 Operational Recommendations
 Maximum recommended
                                                       3,028 lpm        4,542 lpm       5,300 lpm            7,571 lpm          7,571 lpm           7,571 lpm
 operating flow
 Maximum drilling torque                               31.2 kNm         47.5 kNm        81.3 kNm             81.3 kNm            81.3 kNm            81.3 kNm
 Make-up torque-tool subs                              48.8 kNm         84.1kNm          128 kNm              128 kNm            128 kNm             128 kNm
                                                                                        107.8kNm    1

 Make-up torque-drillstring                            40.7 kNm         68.7kNm                              107.8kNm           107.8kNm            107.8kNm
                                                                                        68.7kNm2
 Absolute maximum overpull                             249 tonne        363 tonne       635 tonne            635 tonne          635 tonne           635 tonne
 Recommended maximum rotary speed                       180 rpm          140 rpm         120 rpm              120 rpm            120 rpm             120 rpm
 Pressure drop through tool @ 1.25 sg                  6.5 bar @        6.6 bar @       6.6 bar @            6.6 bar @          6.6 bar @           6.6 bar @
 mud weight before triggering                          1,703 lpm        2,839 lpm       2,839 lpm            2,839 lpm          2,839 lpm           2,839 lpm
 Pressure drop through tool @ 1.25 sg
                                                       4.8 bar @        4.4 bar @       3.5 bar @            7.9 bar @          7.9 bar @           7.9 bar @
 mud weight after triggering
                                                       2,650 lpm        3,407 lpm       3,785 lpm            5,678 lpm          5,678 lpm           5,678 lpm
 (80%-20% split)
 Maximum ⌂P-drill pipe to BHA below
                                                        138 bar          138 bar         138 bar              138 bar             138 bar             138 bar
 the XPR
 Minimum ⌂P-drill pipe to BHA below
                                                        34.5 bar         35.5 bar        34.5 bar             34.5 bar           34.5 bar            34.5 bar
 the XPR
 Maximum recommended temperature                       163° C**         163° C**         163° C**             163° C**           163° C**            163° C**

** High-temperature seal available: 400° F / 200° C
1
  7 5/8” Reg Make-up Torque
2
  6 5/8” Reg Make-up Torque




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